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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: VIOXX PRODUCTS LIABILITY
LITIGATION

MDL No. 1657
SECTION L
JUDGE ELDON E. FALLON

MAGISTRATE JUDGE
DANIEL E. KNOWLES, Hl

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THIS DOCUMENT RELATES TO: _Garner, David_v. Merck & Co., Inc. ef al.
Civil Action No. €()"7 ~2707

PLAINTIFF’S MOTION TO REMAND

COMES NOW Plaintiff David Garner, by and through his attorneys Goldenberg Heller
Antognoli Rowland Short & Gori, P.C., and for his Motion to Remand, states as follows:

1. Plaintiff filed suit in Edwardsville, Illinois against manufacturing defendant
Merck and a pharmacy (Walgreens Pharmacy), alleging injuries from taking Vioxx. A copy of
the Plaintiff's Complaint is contained in the Court file and incorporated herein by reference.

2. Defendant improperly removed this action from State Court to this Court alleging,
that Illinois Defendant Walgreens Pharmacy was fraudulently joined for purposes of defeating
diversity.

3. This Court does not have subject matter jurisdiction over this claim. Plaintiff has
pled state causes of action against Walgreens Pharmacy including: strict products liability—sale
of defective product, negligence failure to warn, and breach of warranty. Each, standing alone, is

sufficient to establish a viable cause of action against Walgreens Pharmacy under Illinois law.

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Therefore, Defendant’s attempt to remove this case to this Court is without merit and remand is
proper.

4, Plaintiff requests this Court remand this action to the Circuit Court in the county
of Madison, state of Iliinois, and that Plaintiff be awarded whatever further relief this Court
deems just and proper.

5. In support of his Motion to Remand, Plaintiff files his Memorandum setting forth
and supporting the above stated claims.

WHEREFORE, Plaintiff, DAVID GARNER, prays that the above captioned action
be remanded to the Circuit Court of the county of Madison, state of Illinois, and for such further
relief as this Court deems just and proper.

Respectfully submitted,

GOLDENBERG HELLER ANTOGNOLI
ROWLAND SHORT & GORI, P.C.

By: /s/Aaron K. Dickey
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ATTORNEYS FOR PLAINTIFFS

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the foregoing
instrument was served upon all parties by electronically uploading the same to Lexis
Nexis File & Serve, and that the foregoing was electronically uploaded with the Clerk of
the Court of the United States District Court for the Eastern District of Louisiana by
using the CM/ECF system which will send a Notice of Electronic Filing in accord with
the procedures established in MDL 1657, this 26" day of September, 2007,

/s/ Aaron K. Dickey

